Case 2:23-cv-05664-HDV-MAR         Document 45   Filed 01/12/24   Page 1 of 17 Page ID
                                         #:249


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 8                            UNITED STATES DISTRICT COURT

 9                          CENTRAL DISTRICT OF CALIFORNIA

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11                                                Case No. 2:23-cv-05664-HDV-MARx

12   TRADER JOE’S COMPANY, a California
     corporation,
                                                  ORDER GRANTING DEFENDANT
13                                                TRADER JOE’S UNITED’S MOTION TO
14                                                DISMISS PLAINTIFF’S COMPLAINT
                      Plaintiff,                  [20]
15
16              v.
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18   TRADER JOE’S UNITED,

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20                    Defendant.

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Case 2:23-cv-05664-HDV-MAR             Document 45        Filed 01/12/24      Page 2 of 17 Page ID
                                             #:250


 1   I.     INTRODUCTION
 2          Plaintiff Trader Joe’s Company (“Trader Joe’s”) brings this suit against Defendant Trader
 3   Joe’s United (“the Union” or “TJU”), a union representing its workers, alleging trademark
 4   infringement and related claims for designs on union merchandise such as buttons, mugs, t-shirts,
 5   and tote bags sold on the Union’s website. Trader Joe’s maintains that this is a purely commercial
 6   dispute and that the Union’s designs are causing consumer confusion and diluting the Trader Joe’s
 7   family of trademarks.
 8          As a preliminary matter, the Court feels compelled to put legal formalisms to one side and
 9   point out the obvious. This action is undoubtedly related to an existing labor dispute, and it strains
10   credulity to believe that the present lawsuit—which itself comes dangerously close to the line of
11   Rule 11—would have been filed absent the ongoing organizing efforts that Trader Joe’s employees
12   have mounted (successfully) in multiple locations across the country. For that reason, the Court
13   dismisses Trader Joe’s request for injunctive relief under the Norris-LaGuardia Act, which was
14   passed by Congress precisely to extract courts from the unfortunate business of issuing ostensibly
15   business-related injunctions in pending labor disputes.
16          But the Lanham Act makes no such distinction on the applicability of trademark law. The
17   Court therefore analyzes the Sleekcraft factors and concludes that there is no likelihood of confusion
18   posed by the Union’s campaign-related products. As discussed more thoroughly below, the logos
19   used by the Union are in a different font, do not utilize the distinctive fruit basket design, apply
20   concentric rings of different proportions, and are applied to products that no reasonable consumer
21   could confuse as coming from Trader Joe’s itself.
22          The Complaint is dismissed in its entirety.
23   II.    BACKGROUND
24          Plaintiff Trader Joe’s operates a national chain of grocery stores. Complaint (“Compl.”) ¶ 14
25   [Dkt. No. 1]. Defendant Trader Joe’s United is a labor union that represents certain Trader Joe’s
26   employees. Complaint ¶ 3. Within the last two years, workers at multiple Trader Joe’s store
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Case 2:23-cv-05664-HDV-MAR             Document 45       Filed 01/12/24      Page 3 of 17 Page ID
                                             #:251


 1   locations across the country have unionized. 1 The National Labor Relations Board (NLRB) has filed
 2   multiple complaints against Trader Joe’s related to these union elections.2 On July 7, 2023, the
 3   NLRB issued a consolidated complaint against Trader Joe’s for unfair labor practices including
 4   retaliation, interrogation, threats, and misrepresentation of the Union. Six days later, Trader Joe’s
 5   filed its Complaint in this action.
 6          Trader Joe’s owns multiple registered trademarks in connection with its brand. Id. ¶¶ 1-2,
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     21; Registration Nos. 2,171,157; 4,001,533 (stylized word mark); 5,221,626 (design logo); see also
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     1,424,176; 1,422,216; 1,420,628; 1,421,310; 1,421,358; 2,160,601; 2,156,879; 2,158,990; 4,001,531
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20     Under Rule 201, the court can—in response to a request from a party or on its own—take judicial
     notice of “[f]acts and propositions that are not reasonably subject to dispute and are capable of
21   immediate and accurate determination by resort to sources of reasonably indisputable accuracy.” Fed.
     R. Evidence 201. For example, courts “may take judicial notice of matters of public record and
22   consider them without converting a Rule 12 motion into one for summary judgment.” United States
23   v. 14.02 Acres of Land More or Less in Fresno Cnty., 547 F.3d 943, 955 (9th Cir. 2008) (citation
     omitted). The Court takes judicial notice of the fact that workers at multiple Trader Joe’s stores—
24   including stores in Hadley, Massachusetts; Minneapolis, Minnesota; Brooklyn, New York; and
     Oakland, California—have held union elections since 2022, some of which resulted in the certification
25   of Trader Joe’s United as the exclusive collective-bargaining representative.
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       Trader Joe’s United also asks the Court to take judicial notice of two complaints against Trader Joe’s
27   issued by the NLRB. The Court finds these public filings to be the proper subject of judicial notice
     and therefore grants Trader Joe’s United’s Request for Judicial Notice. (“RJN”) [Dkt. No. 21],
28   Exhibits 1-2.

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Case 2:23-cv-05664-HDV-MAR             Document 45       Filed 01/12/24     Page 4 of 17 Page ID
                                             #:252


 1   (typed word mark). In addition to its food and beverage products, Trader Joe’s sells in its stores
 2   certain branded merchandise including Trader Joe’s tote bags. Id. ¶ 18.
 3          The Union operates a website in connection with its organizing efforts, on which it sells to
 4   website users mugs, apparel, buttons, and reusable tote bags bearing the Union name and designs
 5   relating to their mission. Id. ¶¶ 4, 26-28.
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14          Trader Joe’s alleges that the Union’s merchandise infringes on the Trader Joe’s marks by
15   using Trader Joe’s typed and stylized word mark, typeface and red coloring, and the concentric
16   circle design. Id. ¶ 28. Trader Joe’s most specific allegation of infringement relates to the Union’s
17   sale of reusable tote bags; the Union’s tote bags allegedly infringe on Trader Joe’s Trademark Reg.
18   No. 5,221,626, which covers “merchandise bags” in Class 16 and “[a]ll-purpose reusable carrying
19   bags” in Class 18. Id. ¶ 29.
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Case 2:23-cv-05664-HDV-MAR              Document 45         Filed 01/12/24       Page 5 of 17 Page ID
                                              #:253


 1           Plaintiff alleges the Union is using the marks in a purely commercial fashion, resulting in a
 2   likelihood of consumer confusion and impairment of the distinctiveness of Trader Joe’s famous
 3   marks. Id. ¶ 6. However, Trader Joe’s does not challenge the Union’s use of the phrase “Trader
 4   Joe’s” for the purpose of identifying Trader Joe’s or communicating Defendant’s message or using
 5   the phrase “Trader Joe’s United” for the purpose of identifying Defendant or communicating its
 6   message. Id. ¶¶ 35-36.
 7           Trader Joe’s brings five claims against the Union in connection with this alleged
 8   infringement: (i) Federal Trademark Infringement under 15 U.S.C. §§ 1114-1118, 1125; (ii) Federal
 9   Unfair Competition, False Association, and False Designation of Origin under 15 U.S.C. § 1125(a);
10   (iii) Federal Trademark Dilution under 15 U.S.C. § 1125(c); (iv) California Statutory Unfair
11   Competition under Cal. Bus. & Prof. Code § 17200, et seq.; and (v) California Common Law
12   Trademark Infringement and Unfair Competition.
13   III.    LEGAL STANDARD
14           The Union brings this Motion pursuant to Federal Rule of Civil Procedure 12(b)(6) (“Rule
15   12(b)(6)”). Rule 12(b)(6) allows a party to seek to dismiss a complaint for “failure to state a claim
16   upon which relief can be granted.” “To survive a motion to dismiss, a complaint must contain
17   sufficient factual matter, accepted as true, to ‘state a claim to relief that is plausible on its face.’”
18   Ashcroft v. Iqbal, 556 U.S. 662, 678 (2009) (quoting Bell Atl. Corp. v. Twombly, 550 U.S. 544, 570
19   (2007). “A claim has facial plausibility when the plaintiff pleads factual content that allows the
20   court to draw the reasonable inference that the defendant is liable for the misconduct alleged.”
21   Iqbal, 556 U.S. at 678.
22           Nevertheless, a court “need not assume the truth of legal conclusions cast in the form of
23   factual allegations.” United States ex rel. Chunie v. Ringrose, 788 F.2d 638, 643 n.2 (9th Cir. 1986).
24   While Rule 8(a) does not require detailed factual allegations, “it demands more than an unadorned,
25   the defendant-unlawfully-harmed-me accusation.” Iqbal, 556 U.S. at 678. A pleading is insufficient
26   if it offers mere “labels and conclusions” or “a formulaic recitation of the elements of a cause of
27   action.” Twombly, 550 U.S. at 555; see also Iqbal, 556 U.S. at 678 (“Threadbare recitals of the
28   elements of a cause of action, supported by mere conclusory statements, do not suffice.”).

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Case 2:23-cv-05664-HDV-MAR             Document 45        Filed 01/12/24      Page 6 of 17 Page ID
                                             #:254


 1          Ultimately, a court may not dismiss a complaint in which the plaintiff has alleged “enough
 2   facts to state a claim to relief that is plausible on its face.” Iqbal, 556 U.S. at 697 (quoting Twombly,
 3   550 U.S. at 570). Only where a plaintiff fails to “nudge[ ] [his or her] claims ... across the line from
 4   conceivable to plausible[,]” is the complaint properly dismissed. Iqbal, 556 U.S. at 680. While the
 5   plausibility requirement is not akin to a probability requirement, it demands more than “a sheer
 6   possibility that a defendant has acted unlawfully.” Id. at 678. The determination of whether a
 7   complaint satisfies the plausibility standard is a “context-specific task that requires the reviewing
 8   court to draw on its judicial experience and common sense.” IdDWௗ
 9   IV.    DISCUSSION
10              A. Injunctive Relief
11          Trader Joe’s’ Complaint seeks injunctive relief3 and asks this Court to enjoin the Union from
12   using the Trader Joe’s marks or any similar marks and names in connection with the Union’s
13   merchandise. See Compl. at 18:5-17 (“Prayer for Relief”). The Union’s Motion seeks dismissal of
14   this claim for relief on the ground that it is expressly prohibited by the Norris-LaGuardia Act, 29
15   U.S.C. § 104, et seq. See Motion at 13-15.
16          Congress enacted the Norris–LaGuardia Act “to take the federal courts out of the labor
17   injunction business.” Aircraft Serv. Int’l, Inc. v. Int’l Bhd. of Teamsters, 779 F.3d 1069, 1073 (9th
18   Cir. 2015) (citing Jacksonville Bulk Terminals, Inc. v. Int’l Longshoremen’s Ass’n, 457 U.S. 702,
19   712, 102 S.Ct. 2672 (1982)). Prior to its passage in 1932, federal courts routinely enjoined labor
20   activity at the behest of employers. Burlington N. Santa Fe Ry. Co. v. Int’l Bhd. of Teamsters Loc.
21   174, 203 F.3d 703, 707 (9th Cir. 2000), as amended (Mar. 8, 2000) (citing Patrick Hardin, The
22   Developing Labor Law 7 (3d ed.1992)). This practice “enabled employers to defeat unions instantly
23   by preventing them from using self-help and destroying the momentum of strikes before substantive
24   legal rights were litigated.” Id. In response to this “extraordinary problem”, “Congress felt
25   compelled to take the ‘extraordinary step of divesting federal courts of equitable jurisdiction’ over
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27    Generally, courts may grant injunctions “to prevent the violation of any right of the registrant of a
     mark registered in the Patent or Trademark Office.” 15 U.S.C. § 1116(a).
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Case 2:23-cv-05664-HDV-MAR             Document 45        Filed 01/12/24      Page 7 of 17 Page ID
                                             #:255


 1   [labor] disputes.” Aircraft Serv. Int’l, Inc., 779 F.3d at 1073 (citing Burlington N. R.R. v. Bhd. of
 2   Maint. of Way Employees, 481 U.S. 429, 437, 107 S.Ct. 1841 (1987)). The Norris-LaGuardia Act
 3   provides that “[n]o court of the United States shall have jurisdiction to issue any restraining order or
 4   temporary or permanent injunction in any case involving or growing out of any labor dispute ... .”
 5   29 U.S.C. § 104.
 6            When considering whether the Norris-LaGuardia Act prevents the Court from issuing an
 7   injunction, the Court must determine whether the case is “involving or growing out of [a] labor
 8   dispute.” 29 U.S.C. § 104. In making such a determination, the Supreme Court stressed the
 9   “necessity of inquiry beyond the form” of the dispute to “its relative impact on the product market
10   and the interests of union members.” Am. Fed’n of Musicians of U.S. & Canada v. Carroll, 391 U.S.
11   99, 107, 88 S. Ct. 1562, 1568 (1968) (quoting Local Union No. 189, Amalgamated Meat Cutters etc.
12   v. Jewel Tea Co., 381 U.S. 676, 690, n.5, 85 S.Ct. 1596, 1602 (1965); see also Marriott Corp. v.
13   Great Am. Serv. Trades Council, AFL-CIO, 552 F.2d 176, 179 (7th Cir. 1977) (“Following the
14   Supreme Court’s directive to look beyond the form of this complaint, it can readily be perceived
15   that, whatever the merits of plaintiff’s Lanham Act and other trademark claims, this dispute has a
16   great impact on the interests of the unions, their members, and potential members.”); Silgan
17   Containers LLC v. Int’l Ass’n of Machinists & Aerospace Workers, AFL-CIO, No. 18-C-213, 2018
18   WL 5840766, at *3 (E.D. Wis. Nov. 8, 2018) (“Although Silgan argues that it ‘is not using a
19   trademark dispute to challenge or shut down the IAM organization efforts,’ Pl.’s Resp. at 9, ECF No.
20   23, looking beyond the form of Silgan’s claim it is apparent that the impact of the dispute on the
21   interests of union members is significant.”).
22          Applying this standard, and performing an “inquiry beyond the form” as directed by the
23   Supreme Court, the Court finds that the present dispute unquestionably “involve[es] or grow[s] out
24   of a labor dispute” within the meaning of 29 U.S.C. § 104. Although a full record has not been
25   developed at this early stage, the “relative impact” of online sales of campaign merchandise like
26   buttons, t-shirts, and mugs on Trader Joe’s product market is undoubtedly de minimis, and the
27   potential chilling effect and other collateral impacts on union members resulting from these lawsuits
28   can be significant. In addition, the Court concludes based on the parties’ recent history of collective-

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Case 2:23-cv-05664-HDV-MAR             Document 45         Filed 01/12/24      Page 8 of 17 Page ID
                                             #:256


 1   bargaining disputes nationwide, the actions of the NLRB, and the timing of the present action that
 2   this lawsuit undoubtedly arises out of a labor dispute. 4 Indeed, following a tide of contentious
 3   organizing efforts and mere days after the issuance of a consolidated NLRB complaint 5 was issued
 4   against it, Trader Joe’s filed this suit. This history combined with the weakness of Plaintiff’s claims
 5   leads the Court to the conclusion that this case is an attempt to weaponize the legal system to gain
 6   advantage in an ongoing labor dispute between Trader Joe’s and the Union representing its workers.
 7          In short, because this case arises out of a labor dispute between the parties, the Court is
 8   divested of jurisdiction to issue injunctive relief on any of Plaintiff’s claims.
 9              B. Trademark Infringement
10          “To show trademark infringement under the Lanham Act, the plaintiff must show that (1) the
11   plaintiff owns a valid trademark; (2) the defendant is using the trademark without the plaintiff’s
12   authorization; and (3) the defendant’s use of the trademark likely confuses consumers.” 2Die4Kourt
13   v. Hillair Cap. Mgmt., LLC, No. CV-16-01304-JVS-DFMx, 2016 WL 4487895, at *5 (C.D. Cal.
14   Aug. 23, 2016), aff’d, 692 F. App’x 366 (9th Cir. 2017) (citing Applied Info. Scis. Corp. v. eBay.
15   Inc., 511 F.3d 966, 969 (9th Cir. 2007)).
16          Plaintiff’s other claims for Federal Unfair Competition, False Association, and False
17   Designation of Origin; California Statutory Unfair Competition; and California Common Law
18   Trademark Infringement and Unfair Competition are substantially congruent with its infringement
19   claim under the Lanham Act. To state all three of these claims, a plaintiff must allege facts to
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22     The Norris-LaGuardia Act defines a “labor dispute” to include “any controversy concerning terms
     or conditions of employment, or concerning the association or representation of persons in negotiating,
23   fixing, maintaining, changing, or seeking to arrange terms or conditions of employment, regardless of
     whether or not the disputants stand in the proximate relation of employer and employee.” 29 U.S.C.
24   § 113(c).
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       The NLRB complaints evince an active labor dispute between the parties. See RJN, Ex. 1-2. The
26   Court need not take the allegations within the complaints as true to find as much. See Lee v. City of
     Los Angeles, 250 F.3d 668, 689 (9th Cir. 2001), overruled on other grounds by Galbraith v. County
27   of Santa Clara, 307 F.3d 1119 (9th Cir. 2002) (explaining that to the extent any facts in documents
     subject to judicial notice are subject to reasonable dispute, the Court should not take judicial notice of
28   those facts).

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Case 2:23-cv-05664-HDV-MAR             Document 45       Filed 01/12/24      Page 9 of 17 Page ID
                                             #:257


 1   demonstrate that (1) plaintiff has a valid, protectable trademark, and (2) that the defendant’s use of
 2   that mark is likely to cause confusion. See Applied Info. Scis. Corp., 511 F.3d at 969; Grupo
 3   Gigange S.A. de C.V. v. Dallo & Co., 391 F.3d 1088, 1100 (9th Cir. 2004) (“As a general matter,
 4   trademark claims under California law are ‘substantially congruent’ with federal claims and thus
 5   lend themselves to the same analysis.’”); Cleary v. News Corp., 30 F.3d 1255, 1262–63 (9th Cir.
 6   1994) (explaining state common law claims of unfair competition [under California law] are
 7   “‘substantially congruent’ to claims made under the Lanham Act”); Brookfield Comms., Inc. v. W.
 8   Coast Entm’t Corp., 174 F.3d 1036, 1046 (9th Cir. 1999) (“To establish a trademark infringement
 9   claim under section 32 of the Lanham Act or an unfair competition claim under section 43(a) of the
10   Lanham Act, [plaintiff] must establish that [defendant] is using a mark confusingly similar to a valid,
11   protectable trademark of [plaintiff’s].”).
12                  1. Ownership and Unauthorized Use
13          A plaintiff’s federal trademark registration is prima facie evidence that the plaintiff owns a
14   valid trademark. 15 U.S.C. § 1057(b). Here, Trader Joe’s produced federal registrations for the
15   marks. See Complaint, Ex. A. The Union neither contests nor submits controverting evidence
16   regarding ownership or validity. Nor does the Union argue Trader Joe’s gave it permission to use its
17   trademarks. Therefore, Trader Joe’s has done enough at the pleading stage to establish it has a valid,
18   protectable trademark.
19                  2. Likelihood of Confusion
20          The issue central to this dispute is whether the Union’s designs are likely to cause confusion.
21   Courts consider eight factors to determine whether there is a likelihood of confusion: (1) strength of
22   the mark; (2) proximity or relatedness of the goods; (3) similarity of the sight, sound and meaning of
23   the marks; (4) evidence of actual confusion; (5) degree to which the marketing channels converge;
24   (6) types of goods and degree of care consumers are likely to exercise when purchasing them; (7)
25   intent of defendants in selecting the infringing mark; and (8) likelihood that the parties will expand
26   their product lines. AMF Inc. v. Sleekcraft Boats, 599 F.2d 341, 348 (9th Cir. 1979), abrogation in
27   part on other grounds recognized by Mattel, Inc. v. Walking Mountain Prods., 353 F.3d 792, 810
28   n.19 (9th Cir. 2003). The Ninth Circuit has described this eight-factor analysis as “‘pliant,’

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Case 2:23-cv-05664-HDV-MAR             Document 45 Filed 01/12/24              Page 10 of 17 Page ID
                                             #:258


 1   illustrative rather than exhaustive, and best understood as simply providing helpful guideposts.”
 2   Fortune Dynamic, Inc. v. Victoria’s Secret Stores Brand Mgmt., Inc., 618 F.3d 1025, 1030 (9th Cir.
 3   2010). “Some factors are much more important than others, and the relative importance of each
 4   individual factor will be case-specific.” Brookfield Commc’ns, Inc., 174 F.3d at 1054.6
 5          Plaintiff argues that the likelihood of confusion inquiry is fact-intensive and thus ill-suited
 6   for disposition on a motion to dismiss here. Opp. at 11. This Court disagrees. Simply put, not
 7   “every infringement case involving a source-identifying use requires full-scale litigation.... [I]f, in a
 8   given case, a plaintiff fails to plausibly allege a likelihood of confusion, the district court should
 9   dismiss the complaint under Federal Rule of Civil Procedure 12(b)(6).” Jack Daniel’s Properties,
10   Inc. v. VIP Prod. LLC, 599 U.S. 140, 157, n.2, 143 S.Ct. 1578 (2023).
11                      a. Proximity or relatedness of goods
12          “Related goods are those products which would be reasonably thought by the buying public
13   to come from the same source if sold under the same mark.” Sleekcraft, 599 F.2d at 348, n.10
14   (citation omitted). In other words, the more likely that the public will mistakenly assume that the
15   goods at issue are related, “the less similarity in the marks is requisite to a finding of a likelihood of
16   confusion.” Id. at 350.
17          The Complaint alleges that Trader Joe’s “offers a variety of merchandise in addition to its
18   core grocery products and retail services, including tote bags and other Trader Joe’s branded
19   goods.” Compl. ¶ 18. But when pressed at oral argument, Plaintiff’s counsel confirmed that tote
20   bags are the only product type sold by both Trader Joe’s and the Union. Transcript for Proceedings
21   Held on Nov. 9, 2023 (“Hearing Transcript”), 5:17-21 [Dkt. No. 43]. There is no relation between
22   Plaintiff’s grocery services and goods and the Union’s buttons and mugs.
23          But even more fundamentally, the context in which consumers find the Union’s products
24   minimizes the likelihood the public will mistakenly assume the goods at issue are related. In
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       “Although some factors—such as the similarity of the marks and whether the two companies are
27   direct competitors—will always be important, it is often possible to reach a conclusion with respect to
     likelihood of confusion after considering only a subset of the factors.” Brookfield Commc’ns, Inc., 174
28   F.3d at 1054 (citing Dreamwerks Prod. Group v. SKG Studio, 142 F.3d 1127, 1130–32 (9th Cir.1998)).

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Case 2:23-cv-05664-HDV-MAR           Document 45 Filed 01/12/24             Page 11 of 17 Page ID
                                           #:259


 1   considering the plausibility of allegations of consumer confusion, courts have placed importance on
 2   the “juxtaposition of the parties”—explaining that consumers are unlikely to confuse a union’s use
 3   of an employer’s trademark as a sign that the employer endorses the union’s organizing efforts.
 4   Silgan, 2018 WL 5840766, at *4 (“Confusion is even less likely to occur here in the context of an
 5   attempt to unionize laborers given the inherent adversarial relationship between [the Union] and [the
 6   employer] in such a situation.”).
 7          The same is true here. The only place customers can purchase TJU merchandise online is
 8   through the Union’s website, which is openly critical of Plaintiff’s labor practices—citing, for
 9   example, declining benefits and stagnating wages. Motion at 7. Courts have often found that a labor
10   union’s use of an employer’s trademark as part of communications about the employer’s labor
11   practices is unlikely to cause confusion in context. See Cintas Corp. v. Unite Here, 601 F. Supp. 2d
12   571, 579 (S.D.N.Y.) (“While the materials available on Defendants’ websites may disparage Cintas,
13   the likelihood that Cintas’s actual or potential customers would be confused about who provides
14   CINTAS goods and services is remote.”), aff’d, 355 F. App’x 508 (2d Cir. 2009) (agreeing that
15   union’s use of employer’s mark to criticize employer was not likely to cause confusion and did not
16   violate Lanham Act even where website sold union merchandise such as “t-shirts, pins and other
17   sundry items”); Medieval Times U.S.A., Inc. v. Medieval Times Performers United, No. 2:22-CV-
18   6050 (WJM), 2023 WL 6307464, at *5 (D.N.J. Sept. 28, 2023) (finding that given the union context
19   and the criticism of the employer on the Union’s website, “consumers are not likely to be confused
20   as to similarity of function”). The Court finds the reasoning of these sister courts persuasive and
21   concludes that this factor weighs strongly against a finding of likelihood of confusion.
22                      b. Similarity of Marks
23          “The following axioms define and delimit the similarity analysis: (1) similarity is best
24   evaluated by appearance, sound, and meaning; (2) marks should be considered in their entirety and
25   as they appear in the marketplace; and (3) similarities weigh more heavily than differences.” Pom
26   Wonderful LLC v. Hubbard, 775 F.3d 1118, 1127–28 (9th Cir. 2014) (citation omitted).
27          The Court does not see compelling similarities in any of the designs. The product that comes
28   closest is the parties’ tote bags. In evaluating the overall impression of the TJU designs and the

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Case 2:23-cv-05664-HDV-MAR              Document 45 Filed 01/12/24            Page 12 of 17 Page ID
                                              #:260


 1   Trader Joe’s marks side-by-side, the most apparent similarity is the use of the “Trader Joe’s” name.
 2   But Trader Joe’s is adamant here that it is not suing Trader Joe’s United over the Union’s use of the
 3   name “Trader Joe’s”. See Compl. ¶ 36 (“Trader Joe’s … does not demand in this Complaint[] that
 4   Defendant stop using the phrase ‘Trader Joe’s’ for the purpose of identifying Trader Joe’s or
 5   communicating Defendant’s message or using the phrase ‘Trader Joe’s United’ for the purpose of
 6   identifying Defendant or communicating its message.”); Opp. at 23 (“Trader Joe’s does not seek to
 7   enjoin Defendant from using ‘Trader Joe’s’ in its name or any of its union communications.).7
 8   Trader Joe’s cannot have it both ways. They cannot state they take no issue with use of the name
 9   “Trader Joe’s” but yet rely on its use to evince the similarity of the marks.
10          Setting aside the name “Trader Joe’s” from Trader Joe’s United’s designs leaves only
11   negligible similarities: the use of the color red and the circle logo shape. The rest is not similar. The
12   Union’s designs do not feature a fruit basket in the center of the circle; instead, there is the raised
13   fist—widely recognized as a symbol of labor, social, and political movements—and a box cutter.
14   The placement of text is also different. The spacing of the concentric rings is visibly different. And
15   while the fonts may have a similar impact at a distance, the fonts are undisputedly not the same. 8 In
16   short, there is simply no visible similarity apparent to the Court, and certainly none to plausibly
17   cause a likelihood of confusion.
18                      c. Marketing Channels
19          “Convergent marketing channels increase the likelihood of confusion.” Sleekcraft, 599 F.2d
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       Wisely so, given the authority rejecting such claims. See, e.g., Marriott Corp. v. Great Am. Serv.
22   Trades Council, AFL-CIO, 552 F.2d 176, 179–80 (7th Cir. 1977) (“The choice of a particular name
23   by a labor organization … may serve to identify and publicize the employer which is the target of the
     campaign and to instill a measure of collective identity among employees. Such aims are legitimate
24   union objectives in seeking the right to self-organization of employees under section 7 of the Labor
     Management Relations Act.”); Senco Prod., Inc. v. Int’l Union of Elec., Radio & Mach. Workers, AFL-
25   CIO-CLC, 311 F. Supp. 590, 592 (S.D. Ohio 1970) (holding the court could not enjoin the union from
     using the employer’s name “[s]o long as the employer’s name is used in such a way that the casual
26   reader would clearly understand that it was the Union and not the employer….”).
27   8
      At oral argument, Trader Joe’s’ counsel conceded that the fonts on the tote bags are different.
28   Hearing Transcript, 8:16-19.

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Case 2:23-cv-05664-HDV-MAR            Document 45 Filed 01/12/24             Page 13 of 17 Page ID
                                            #:261


 1   at 353. To assess convergence, “courts consider whether the parties’ customer bases overlap and
 2   how the parties advertise and market their products.” Pom Wonderful, 775 F.3d at 1130 (finding
 3   market convergence where both companies sold their products in supermarkets located throughout
 4   the United States).
 5          The Union markets and sells its products online through its website. Compl. ¶¶ 4, 30. Trader
 6   Joe’s promotes its products and services online, but sells products only in stores. Compl. ¶ 16.
 7   Trader Joe’s argues that because it also utilizes online promotion, the Court should recognize the
 8   marketing channels converge. Opp. at 13. However, the Court finds that the point of sale is most
 9   relevant on these particular facts. 9 Consumers only encounter the Union’s products in the context of
10   its website, which is steeped in the language of labor activism. While Trader Joe’s also operates a
11   website, consumers cannot purchase any Trader Joe’s products online. In-store grocery retail is the
12   very core of Trader Joe’s as a company. Given this context, it is simply not plausible to imagine a
13   reasonable consumer going to the Union’s website, purchasing a Union-branded coffee mug, and
14   mistakenly believing it to be sold by Trader Joe’s. Analyzed in its totality, this factor also weighs
15   against a possible likelihood of confusion.
16                         d. Types of Goods and Consumer Care when Purchasing
17          The Court also examines whether the types of goods overlap from the perspective of a
18   “typical buyer exercising ordinary caution.” Sleekcraft, 599 F.2d at 353. Courts sometimes look to
19   the price of the products as indicia of consumer care. “Unlike purchasers of expensive goods—
20   whom we expect to be more discerning and less easily confused—purchasers of inexpensive goods
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22   9
       While the Ninth Circuit has recognized that simultaneous use of the internet as a marketing channel
23   exacerbates the likelihood of confusion, see Brookfield Communications, 174 F.3d at 1057, it has also
     observed in other cases that internet advertising alone is entitled to little weight. See Network
24   Automation v. Advanced Systems Concepts, Inc., 638 F.3d 1137, 1151 (9th Cir. 2011) (“Today, it
     would be the rare commercial retailer that did not advertise online, and the shared ubiquitous
25   marketing channel does not shed much light on the likelihood of consumer confusion.”); Playboy
26   Enterprises, Inc. v. Netscape Communications Corp., 354 F.3d 1020 (9th Cir. 2004) (“PEI and the
     advertisers use identical marketing channels: the Internet. More specifically, each of their sites appears
27   on defendants’ search results pages. Given the broad use of the Internet today, the same could be said
     for countless companies. Thus, this factor merits little weight.”).
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Case 2:23-cv-05664-HDV-MAR            Document 45 Filed 01/12/24             Page 14 of 17 Page ID
                                            #:262


 1   ‘are likely to exercise less care, thus making confusion more likely.’” Pom Wonderful, 775 F.3d at
 2   1127 (citation omitted) (finding consumers were unlikely to exercise a high degree of care in
 3   purchasing beverages that cost between $1.99 and $2.29); see Sleekcraft, 599 F.2d at 353 (finding
 4   consumers were likely to exercise a high degree of care in purchasing high quality, expensive goods
 5   such as a racing boat). With respect to pricing, Plaintiff argues only that reusable tote bags, apparel,
 6   mugs, and buttons are “inherently inexpensive,” Opp. at 13, and did not provide the Court with
 7   pricing information on its Trader Joe’s-branded tote bags. The Union similarly did not provide
 8   pricing information on its products, but according to its website, 10 the Union sells tote bags for $32,
 9   tee-shirts for $32, sweatshirts for $60, mugs for $20, and buttons for $6. “No clear standard exists
10   for analyzing moderately priced goods, such as non-designer clothing.” Surfvivor Media, Inc. v.
11   Survivor Prods., 406 F.3d 625, 634 (9th Cir. 2005) (quotations omitted) (finding that, with respect to
12   moderately priced items such as the tee-shirts, shorts, and hats, the “degree of consumer care” factor
13   favored neither party), superseded by statute on other grounds.
14          Beyond price, the context surrounding purchase of these goods shows that a reasonable buyer
15   exercising ordinary caution would not be confused. To purchase TJU merchandise, consumers pass
16   through Trader Joe’s United’s website, which contains a “.org” extension and clearly identifies itself
17   as the website of a labor union. The website communicates the Union’s message, which is openly
18   critical of Trader Joe’s’ labor practices such as its declining benefits and stagnating wages. See Opp.
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     10
        Courts may properly consider materials referenced in the complaint under the incorporation by
21   reference doctrine, even if a plaintiff failed to attach those materials to the complaint. Knievel v.
     ESPN, 393 F.3d 1068, 1076 (9th Cir. 2005); see Compl. ¶ 4, n.1 (citing the Trader Joe’s United’s
22   website at https://store.traderjoesunited.org/). Public records and documents on publicly available
23   websites are also proper subjects of judicial notice. See, e.g., Brown v. Google LLC, 525 F. Supp. 3d
     1049, 1061 (N.D. Cal. 2021) (taking judicial notice of publicly available websites, including publicly
24   available websites archived using the Internet Archive’s Wayback Machine). These statements and
     materials appeared on Defendant’s publicly available website and are thus proper subjects for judicial
25   notice. To the extent any facts on Defendant’s website are subject to reasonable dispute, the Court
     will not take judicial notice of those facts. See, e.g., EVO Brands, LLC v. Al Khalifa Grp. LLC, 657
26   F. Supp. 3d 1312, 1323 (C.D. Cal. 2023) (taking judicial notice of third-party website for the limited
27   purpose of establishing that the statements in the website were made, but not for the truth of the
     information therein that was reasonably in dispute).
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Case 2:23-cv-05664-HDV-MAR            Document 45 Filed 01/12/24             Page 15 of 17 Page ID
                                            #:263


 1   at 7. Even if a user found themselves on the Union’s apparel page without navigating through the
 2   TJU homepage, the apparel page includes at the top a conspicuous “About Us” link, which states the
 3   webstore is administered on behalf of Trader Joe’s United and contains links that direct the user back
 4   to the Trader Joe’s United homepage. A typical buyer exercising ordinary caution would not believe
 5   they were purchasing from Trader Joe’s when navigating through the Union’s website.
 6          In summary, after a careful assessment of the Sleekcraft factors, 11 the Court concludes that
 7   there is no plausible likelihood of confusion. Therefore, the Court grants Defendant’s Motion with
 8   respect to Plaintiff’s first, second, fourth, and fifth causes of action. These claims are dismissed
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     11
        The Union does not contest the strength of the Trader Joe’s family of marks. See Compl. ¶ 20;
11   Defendant Trader Joe’s United’s Reply in Support of Motion to Dismiss (“Reply”), at 4. A mark’s
     strength impacts the scope of its trademark protection. Sleekcraft, 599 F.2d at 349 (“A strong mark is
12   inherently distinctive…; it will be afforded the widest ambit of protection from infringing uses.”). The
13   Court analyzes the Sleekcraft factors assuming Plaintiff’s marks are afforded the greatest scope of
     protection. Even so, the Union’s designs are not infringing if the other factors do not demonstrate a
14   likelihood of confusion.
15   The Court considered the remaining factors, but finds them relatively unimportant or neutral.
16
     Evidence of actual confusion suggests that future confusion is more likely. Sleekcraft, 599 F.2d at
17   352. Failure to show actual confusion is not dispositive, Pom Wonderful, 775 F.3d at 1131, and
     therefore the absence of such allegations does not, by itself, make Plaintiff’s Complaint deficient. But
18   because Plaintiff does not allege evidence of actual confusion, this factor is neutral in the likelihood
     of confusion analysis.
19
20   Courts also consider the intent of the alleged infringer. If the defendant knowingly adopts an
     infringing mark to deceive the public, courts presume that such confusion will occur. Sleekcraft, 559
21   F.2d at 354. But here, there are no allegations that the Union intended to cause confusion or deceive
     the public. Plaintiff’s lack of allegations regarding intent “neither undermines, nor advances its ability
22   to prove likelihood of confusion.” Pom Wonderful LLC, 775 F.3d at 1131.
23
     Finally, “a ‘strong possibility’ that either party may expand his business to compete with the other will
24   weigh in favor of finding that the present use is infringing.” Sleekcraft, 599 F.2d at 354. Trader Joe’s
     alleges that absent an injunction “Defendant will continue and expand [its infringing] activities,”
25   Complaint ¶ 41, but provides no factual allegations plausibly showing why there is a likelihood of
     expansion. The Court need not accept this conclusory prediction as true. See Twombly, 550 U.S. at
26   545. Plaintiff does not, nor would it be plausible to, allege that the Union will expand into grocery
27   retail. And Plaintiff does not argue that it plans to begin selling buttons and mugs. Therefore, this
     factor does not help Plaintiff establish likelihood of confusion.
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Case 2:23-cv-05664-HDV-MAR             Document 45 Filed 01/12/24             Page 16 of 17 Page ID
                                             #:264


 1   without leave to amend. 12
 2              C. Federal Trademark Dilution
 3          The Lanham Act also creates a cause of action for the dilution of famous marks, which can
 4   succeed without likelihood of confusion. See 15 U.S.C. § 1125(c); Moseley v. V Secret Catalogue,
 5   Inc., 537 U.S. 418, 431, 123 S. Ct. 1115 (2003). To plead a dilution claim, a plaintiff must allege
 6   that “(1) the mark is famous and distinctive; (2) the defendant is making use of the mark in
 7   commerce; (3) the defendant’s use began after the mark became famous; and (4) the defendant’s use
 8   of the mark is likely to cause dilution by blurring or dilution by tarnishment.” Upper Deck Co. v.
 9   Flores, 569 F. Supp. 3d 1050, 1065 (S.D. Cal. 2021). Dilution by tarnishment occurs when an
10   “association arising from the similarity between” two marks—one of them famous—“harms the
11   reputation of the famous mark,” and thus makes the other mark’s owner liable. 15 U.S.C. §
12   1125(c)(2)(C). Dilution by blurring arises from the similarity between marks—one of them
13   famous—“that impairs the distinctiveness of the famous mark.” 15 U.S.C. § 1125(c)(2)(B); see also
14   Playboy Enterprises, Inc. v. Welles, 279 F.3d 796, 805 (9th Cir. 2002) (explaining blurring occurs
15   when another’s use of a mark creates “the possibility that the mark will lose its ability to serve as a
16   unique identifier of the plaintiff’s product”).
17          Trader Joe’s argues that the Union’s designs are causing dilution by blurring. Compl. ¶ 56.
18   But Trader Joe’s fails to explain how that can be true based on these facts. Blurring occurs when a
19   defendant’s use creates the possibility the plaintiff’s mark will lose its ability to serve as a unique
20   identifier of plaintiff’s product. Here, there is no secondary product or association that would make
21   the Trader Joe’s marks lose their singularity. See Playboy Enterprises, 279 F.3d at 806 (“Uses that
22   do not create an improper association between a mark and a new product but merely identify the
23   trademark holder’s products should be excepted from the reach of the anti-dilution statute. Such
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25
     12
26      Although generally a court granting a motion to dismiss should also grant leave to amend, “leave to
     amend need not be granted when ‘any amendment would be an exercise in futility.’” Hoang v. Bank
27   of Am., N.A., 910 F.3d 1096, 1103 (9th Cir. 2018) (quoting Steckman v. Hart Brewing, Inc., 143 F.3d
     1293, 1298 (9th Cir. 1998)). Because there is no plausible likelihood of confusion under these
28   circumstances, the Court concludes any amendment on these claims would be futile.

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Case 2:23-cv-05664-HDV-MAR             Document 45 Filed 01/12/24           Page 17 of 17 Page ID
                                             #:265


 1   uses cause no harm.”). Trader Joe’s United is using the “Trader Joe’s” name to refer to Trader Joe’s
 2   itself. 13 Id. at 805 (“[N]ominative uses, by definition, do not dilute the trademarks.”). The Court
 3   finds that there can be no trademark dilution by blurring on these facts, and therefore grants
 4   Defendant’s Motion as to Plaintiff’s third cause of action without leave to amend.14
 5   V.        CONCLUSION
 6             For the reasons stated herein, Defendant’s Motion to Dismiss is granted.
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 8
 9    Dated: January 12, 2024
                                                                        Hernán D. Vera
10                                                               United States District Judge

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          See supra note 3.
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          See supra note 7.

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